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                             No. 24-30706

   In the United States Court of Appeals for the Fifth Circuit
DARCY ROAKE, REVEREND, ON BEHALF THEMSELVES AND ON BEHALF OF
THEIR MINOR CHILDREN, REAL PARTY IN INTEREST A.V., REAL PARTY IN
INTEREST S.V.; ADRIAN VAN YOUNG, ON BEHALF OF THEMSELVES AND ON
BEHALF OF THEIR MINOR CHILDREN, REAL PARTY IN INTEREST A.V., REAL
PARTY IN INTEREST S.V.; MAMIE BROADHURST, REVEREND, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST N.W.; RICHARD WILLIAMS, REVEREND, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST N.W.; JEFF SIMS, REVEREND, ON BEHALF OF HIMSELF AND ON
BEHALF OF HIS MINOR CHILDREN, REAL PARTY IN INTEREST A.S., REAL PARTY
IN INTEREST C.S. 1, REAL PARTY IN INTEREST C.S. 2; JENNIFER HARDING, ON
BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY
IN INTEREST A.O.; BENJAMIN OWENS, ON BEHALF OF THEMSELVES AND ON
BEHALF OF THEIR MINOR CHILD, REAL PARTY IN INTEREST A.O.; DAVID
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CHILDREN REAL PARTY IN INTEREST A.H., REAL PARTY IN INTEREST L.H.;
ERIN HAWLEY, ON BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR
CHILDREN, REAL PARTY IN INTEREST A.H, REAL PARTY IN INTEREST L.H.;
DUSTIN MCCRORY, ON BEHALF OF THEMSELVES AND ON BEHALF OF HIS
MINOR CHILDREN, REAL PARTY IN INTEREST E.M., REAL PARTY IN INTEREST
P.M., REAL PARTY IN INTEREST L.M.; GARY SERNOVITZ, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST T.S.; MOLLY PULDA, ON BEHALF OF THEMSELVES AND ON BEHALF
OF THEIR MINOR CHILD, REAL PARTY IN INTEREST T.S.; CHRISTY ALKIRE, ON
BEHALF OF HERSELF AND ON BEHALF OF HER MINOR CHILD, REAL PARTY IN
INTEREST L.A.; JOSHUA HERLANDS, ON BEHALF OF HIMSELF AND ON BEHALF
OF HIS MINOR CHILDREN, REAL PARTY IN INTEREST E.H., REAL PARTY IN
INTEREST J.H.,

                                        Plaintiffs-Appellees,

                                   v.

CADE BRUMLEY, IN HIS OFFICIAL CAPACITY AS THE LOUISIANA STATE
SUPERINTENDENT OF EDUCATION; CONRAD APPEL, IN HIS OFFICIAL CAPACITY
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AS A MEMBER OF THE     LOUISIANA STATE BOARD OF ELEMENTARY AND
SECONDARY EDUCATION (LSBESE); JUDY ARMSTRONG, IN HER OFFICIAL
CAPACITY AS A MEMBER OF THE LSBESE; KEVIN BERKEN, IN HIS OFFICIAL
CAPACITY AS A MEMBER OF THE LSBESE; PRESTON CASTILLE, IN HIS
OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; SIMONE CHAMPAGNE, IN
HER OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; SHARON LATTEN-
CLARK, IN HER OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; LANCE
HARRIS, IN HIS OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; PAUL
HOLLIS, IN HIS OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; SANDY
HOLLOWAY, IN HER OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE;
STACEY MELERINE, IN HER OFFICIAL CAPACITY AS A MEMBER OF THE
LSBESE; RONNIE MORRIS, IN HIS OFFICIAL CAPACITY AS A MEMBER OF THE
LSBESE; EAST BATON ROUGE PARISH SCHOOL BOARD; LIVINGSTON PARISH
SCHOOL BOARD; VERNON PARISH SCHOOL BOARD; ST. TAMMANY PARISH
SCHOOL BOARD,

                                          Defendants-Appellants.



           On Appeal from the United States District Court
                for the Middle District of Louisiana
             No. 3:24-cv-517, Hon. John W. deGravelles


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           CERTIFICATE OF INTERESTED PERSONS

              Roake, et al. v. Brumley, et al., No. 24-30706

     The undersigned counsel of record certifies, pursuant to Fifth

Circuit Rule 27.4 and Rule 28.2.1, that the following listed persons and

private entities have an interest in the outcome of this case, including

all private practice lawyers and private law firms currently engaged in

this litigation. These representations are made in order that the judges

of this court may evaluate possible disqualification or recusal.

     Defendants-Appellants:              Defendants-Appellants              are

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Schaerr and Justin A. Miller, and attorney Creighton A. Thurman. The

Foundation for Moral Law is represented by attorneys John Eidsmoe

and Talmadge Butts.

///



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Date: December 30, 2024

                                 /s/ Jonathan K. Youngwood

                                 Counsel for Plaintiffs-Appellees




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         STATEMENT REGARDING ORAL ARGUMENT

     Oral argument is scheduled for January 23, 2025. Plaintiffs-

Appellees agree that oral argument is warranted.




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                           INTRODUCTION

     “Families entrust public schools with the education of their

children, but condition their trust on the understanding that the

classroom will not purposely be used to advance religious views that may

conflict with the private beliefs of the student and his or her family.”

Edwards v. Aguillard, 482 U.S. 578, 584 (1987). Louisiana Act No. 676,

which will impose the Ten Commandments on public-school children for

nearly every hour of every day of their public education, is an alarming

betrayal of that trust.

     The Act is patently unconstitutional under Supreme Court

precedent, including (1) Stone v. Graham, 449 U.S. 39 (1980), which

struck down a nearly identical Kentucky statute, and (2) a long line of

First Amendment cases prohibiting the State from holding public-school

students captive to government-sponsored religious messages and

observance. As the Court has recognized, because schoolchildren “are

impressionable and their attendance is involuntary,” Edwards, 482 U.S.

at 584, there are “heightened concerns with protecting freedom of

conscience from subtle coercive pressure in the elementary and secondary

public schools.” Lee v. Weisman, 505 U.S. 577, 592 (1992). Although the



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Supreme Court recently affirmed that subjecting a “captive audience” of

students to official religious observance is “problematically coercive,”

Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 541-42 (2022), the

Louisiana Legislature nevertheless designed the Act, according to its

primary sponsor, to ensure that “children learn what God says is right

and what He says is wrong.” Infra p. 5.

     The version of the Ten Commandments selected, approved, and

mandated by lawmakers in the Act—a Protestant rendition of

scripture—further illustrates the constitutional impropriety of the

statutory scheme. Even among those who adhere to this scripture, there

are deep theological differences as to its correct text and meaning. By

wading into thorny religious questions and taking sides on these

disputes, the Act violates another well-established constitutional

principle,   the   First   Amendment’s     prohibition    on   governmental

denominational preference.

     After thorough consideration of the historical record and evidence,

including live testimony by a qualified expert, the district court correctly

found that the displays mandated by the Act do not fit within any

historical tradition that could justify their coercive and denominationally



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discriminatory nature. And, consistent with our founding principles of

religious freedom and the governing caselaw, the court properly held that

the minimum requirements of the statute, standing alone, render it

facially unconstitutional under both the Establishment and Free

Exercise Clauses.

      Defendants-Appellants’ hypothetical “illustrations” do not save the

Act. Regardless of any variations in content, the statute’s mandatory

minimum provisions demand permanent displays that all feature one

constant as their central focus: a state-adopted, Protestant version of the

Ten Commandments. Students will be, quite literally, a captive audience

to this scripture because the pervasive nature of the Act’s statutory

scheme ensures that there is no way to avoid the displays.

      The First Amendment does not allow this. The rights to decide

which religion, if any, to follow and which religious beliefs, if any, to adopt

and practice are constitutionally reserved to individuals, parents,

families, and faith communities—not government officials.




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           COUNTER-STATEMENT ON JURISDICTION

     The district court had jurisdiction pursuant to 28 U.S.C. § 1331 and

28 U.S.C. § 1343(a)(3). This Court has jurisdiction pursuant to 28 U.S.C.

§ 1292(a)(1).

                COUNTER-STATEMENT OF THE ISSUES

     1.    Did the district court correctly conclude that (i) Plaintiffs’

claims are ripe for resolution, and (ii) Plaintiffs have Article III standing?

     2.    Did the district court correctly conclude that the state

Defendants, as officials statutorily required to implement the Act, are not

entitled to sovereign immunity?

     3.    Did the district court correctly conclude that the Act facially

violates the Establishment and Free Exercise Clauses of the First

Amendment?

     4.    Did the district court abuse its discretion in issuing a

preliminary injunction after determining that the preliminary-injunction

factors weigh in Plaintiffs’ favor?




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              COUNTER-STATEMENT OF THE CASE

I.   Factual Background

     On June 19, 2024, Louisiana Governor Jeff Landry signed into law

House Bill No. 71, Act No. 676 (“H.B. 71” or “the Act”), requiring each

public-school governing authority in the state to permanently display—

no later than January 1, 2025—the Ten Commandments in every

elementary, secondary, and post-secondary classroom under its

jurisdiction. ROA.2093. The measure took effect immediately. ROA.2098.

     According to Representative Dodie Horton, the primary author and

sponsor of H.B. 71, the measure was designed to teach children

God’s law: “It is so important that our children learn what God says is

right and what He says is wrong and to allow [the Ten Commandments]

to be displayed in our classrooms as a visual aid, I believe, especially in

this day and time is so important.” ROA.824; see also ROA.838 (“I’m not

concerned with an atheist. I’m not concerned with a Muslim. I’m

concerned with our children looking and seeing what God’s law is.”).

     Under the Act, at minimum, each permanent display must include

a “poster or framed document that is at least eleven inches by fourteen

inches.” ROA.2097. Further, “[t]he text of the Ten Commandments shall



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be the central focus of the poster or framed document and shall be printed

in a large, easily readable font.” ROA.2097. The Act specifies the exact

version of the commandments that public schools must use—a Protestant

rendition of scripture drawn from the King James Bible. ROA.1621,

2095-96. The statute’s prescribed scriptural text states:

                         The Ten Commandments

                         I AM the LORD thy God.

                Thou shalt have no other gods before me.

           Thou shalt not make to thyself any graven images.

       Thou shalt not take the Name of the Lord thy God in vain.

              Remember the Sabbath day, to keep it holy.

      Honor thy father and thy mother, that thy days may be long

           upon the land which the Lord thy God giveth thee.

                            Thou shalt not kill.

                      Thou shalt not commit adultery.

                           Thou shalt not steal.

        Thou shalt not bear false witness against thy neighbor.

               Thou shalt not covet thy neighbor’s house.




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             Thou shalt not covet thy neighbor’s wife, nor his

                                  manservant,

                       nor his maidservant, nor his cattle,

                       nor anything that is thy neighbor’s.

ROA.2095-96. As Defendants conceded below, this text is not the version

of the Ten Commandments observed by most adherents of the Catholic

and Jewish faiths. ROA.458 (“This was the version upheld in Van Orden,

but   different   faith     traditions   adopt    different    versions    of    the

Commandments’ text. For example, the Catholic version omits ‘graven

images.’ And the Torah uses the phrase ‘I am the Lord your God who

brought you out of the land of Egypt, out of the house of bondage.’”

(quoting Ex. A-1 at 14)); see also ROA.1760, 1778 n.22. And many other

religions do not consider the commandments to be part of their belief

system at all. ROA.873-74.

      There is no way for public-school students and their families to opt

out of the Act’s pervasive religious scheme: Under threat of civil and/or

criminal penalty, including fines and jail, “parents must send their minor

children to school and ensure attendance during regular school hours at

least 177 days per year.” See ROA.1749; see also La. R.S. §§ 17:221,



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17:233. In addition, the Louisiana Attorney General has repeatedly

affirmed that every public school must meet the statute’s January

deadline. ROA.1672-73.

      The Act further requires the Louisiana Board of Elementary and

Secondary Education (“BESE”) to “adopt rules and regulations . . . to

ensure the proper implementation” of the statute. ROA.2097. These rules

must be enforced by the Superintendent of Education, whom Louisiana

law expressly charges with “[i]mplement[ing] the policies and programs

of the board and the laws affecting schools under the jurisdiction of the

board.” ROA.1661-62, 1672.

II.   Procedural Background

      Plaintiffs, a multi-faith group of fourteen parents and their

combined sixteen minor children enrolled or soon-to-be enrolled in

Louisiana’s public schools, filed their Complaint on June 24, 2024,

ROA.39, and their Motion for Preliminary Injunction on July 8, 2024.

ROA.239. Through the Complaint and declarations, Plaintiffs have

asserted that the Act will harm them in violation of the Establishment

and Free Exercise Clauses of the First Amendment, including by (1)

substantially burdening the parent-Plaintiffs’ religious exercise by



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usurping their parental authority to direct their children’s religious

upbringing and education; and (2) religiously coercing their children by

pressuring them to observe, meditate on, venerate, and follow the state’s

favored religious text, and by pressuring the children to suppress

expression of their own religious beliefs and backgrounds at school.

ROA.55-76, 256-57, 278-329. Defendants filed a motion to dismiss on

August 5, 2024. ROA.413.

     On August 13, 2024, Plaintiffs proffered the expert report of Dr.

Steven K. Green, a historian who has conducted research and published

extensively on matters relating to the intersection of law, religion, and

history, as well as the history of public schools. ROA.848-76. Although

the schedule set by the district court expressly allowed them to do so,

Defendants declined to offer their own opening expert report or a rebuttal

report. ROA.1522, 2476. Instead, on August 30, 2024, they filed a motion

to exclude Dr. Green’s testimony. ROA.1117.

     On October 21, 2024, the district court held a full-day evidentiary

hearing and oral argument. The court accepted as evidence the testimony

(by declaration) of the Plaintiffs and representatives of Defendants and

more than forty exhibits. The court also heard live testimony from Dr.



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Green, whom Defendants cross-examined. His testimony tracked and

expanded on his expert report and focused on (among other topics) the

founders’ concern for religious coercion and denominational preference,

and the historical insignificance of the Ten Commandments in American

public education. ROA.1770-77.

     On November 12, 2024, the district court denied Defendants’

motion to exclude Dr. Green’s testimony, ROA.1595-1617, granted

Plaintiffs’ preliminary-injunction motion, and denied Defendants’ motion

to dismiss. ROA.1793-94. As to Dr. Green, the court found him to be

“exceptionally well-credentialed and knowledgeable on the issues under

consideration and . . . credible, clear, and candid in his answers during

both examination and cross-examination.” ROA.1609; see also ROA.1770,

1777.1

     As to the parties’ jurisdictional arguments, the court held that (1)

Plaintiffs’ claims are ripe because there is “sufficient information about



1 Notwithstanding Defendants’ attempt to misrepresent Dr. Green’s
opinions and testimony by presenting out-of-context transcript excerpts,
Defs.Br.16, the district court recognized that his opinions were
“nuanced,” ROA.1614, and his testimony “well supported and
persuasive,” ROA.1770, and “convincing, logical, and consistent with the
Court’s own review of the evidence.” ROA.1777.


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what the Ten Commandment displays will look like from the Act itself to

determine whether the display is constitutional,” ROA.1623, 1645-52;

and (2) Plaintiffs have standing because they “have a personal stake in

the outcome of the litigation.” ROA.1624, 1658-65. The court also held

that “the Superintendent and BESE Members are not entitled to

sovereign immunity.” ROA.1624, 1671-75.

      Turning to the merits, the court first determined that Plaintiffs’

Establishment Clause claim is controlled by Stone, which dispositively

renders the Act unconstitutional. ROA.1625-26, 1703-15. The court noted

that Defendants conceded at oral argument “that Stone remains binding

on this Court, but they attempted to downplay and distinguish it.”

ROA.1714, 2519.2 Second, the court ruled that, even absent Stone, under



2 Defendants now deny that they made this concession, Def.Br.50 n.5,

but the transcript supports the district court’s account:

The Court:             But do you agree with her premise which is I’m
                       bound by Stone until the Supreme Court [t]ells me
                       I’m not bound by Stone?

Mr. Aguiñaga:          Your Honor, we’re happy for - we’re not going to
                       dispute that, your Honor. Obviously, if this case
                       gets to the Supreme Court we will vigorously
                       litigate whether Stone remains good law. But
                       assuming it does remain good law and binding on


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Kennedy and other Establishment Clause jurisprudence, (1) “Plaintiffs

have shown a real and substantial likelihood of coercion,” ROA.1751, and

(2) the Act is unconstitutionally discriminatory because it “fails to select

historical documents generally and versions of the Decalogue specifically

‘without regard for belief.’” ROA.1627 (quoting Freedom From Religion

Found., Inc. v. Mack, 49 F.4th 941, 958 (5th Cir. 2022)).

     Third, recounting the expert testimony and its “own review of the

evidence,” ROA.1777, the court rejected Defendants’ claims that there is

a tradition of using the Ten Commandments in public-school education

and that permanent displays of the Ten Commandments in public-school

classrooms fits within that tradition. ROA.1769-78.

     Fourth, the court held that, under the Free Exercise Clause, the Act

“conflicts with and burdens the [Plaintiffs’] sincere beliefs” and

“substantially interferes with and burdens the right of parents to direct


                       this court, as we accept for purposes of this
                       discussion, your Honor, look at what Stone says.

ROA.2519. The purportedly qualifying language cited by Defendants—
“for purposes of this discussion”—plainly refers to the assumption that
the Supreme Court will not overturn Stone. Defendants’ counsel’s vow to
“vigorously litigate whether Stone remains good law” if the case reaches
the Supreme Court would make no sense if he were taking the position
that Stone is already not good law.


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their children’s religious education and upbringing.” ROA.1760-61

(cleaned up). The court “easily reject[ed]” Defendants’ argument that the

Act is religiously neutral, pointing to the text of the Act itself and its

legislative history, ROA.1760-66, and held that the statute failed strict

scrutiny. ROA.1764.

     Fifth, the court held that the Act unconstitutionally coerces the

child-Plaintiffs under the Free Exercise Clause because “for all practical

purposes, they cannot opt out of viewing the Ten Commandments when

they are displayed in every classroom, every day of the year, every year

of their education.” ROA.1760-66.

     Finally, determining that the preliminary-injunction factors

weighed in Plaintiffs favor, ROA.1768, the court issued an order

prohibiting Defendants from “(a) enforcing H.B. 71; (b) adopting rules or

regulations for the enforcement of H.B. 71; and (c) requiring that the Ten

Commandments be posted in every public-school classroom in Louisiana

in accordance with H.B. 71.” ROA.1793-94. The court also directed the

state Defendants to provide notice of the order and the Act’s

unconstitutionality (the “Notice Provision”) to all Louisiana “public




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elementary, secondary, and charter schools, and all public post-secondary

education institutions.” ROA.1793-94.

     Defendants filed a notice of appeal on November 13, 2024. Two days

later, Defendants moved this Court to stay the preliminary injunction.

ECF No. 39. On November 20, 2024, the Court denied the stay motion

and lifted a previously granted administrative stay of the Notice

Provision. ECF No. 68. On December 30, 2024, the Court denied a

petition previously filed by Defendants, ECF No. 75, for initial hearing

en banc. ECF No. 155.

                  SUMMARY OF THE ARGUMENT

     Defendants’ demand that this Court dismiss Plaintiffs’ claims for

lack of jurisdiction directly contravenes longstanding precedent.

Defendants contend that any suit challenging the Act is premature on

both ripeness and standing grounds because (1) Plaintiffs have not yet

been harmed, and (2) a court can determine whether H.B. 71’s displays

are constitutional only by adjudging each individual display on its own

merits. The district court properly rejected these arguments.

     First, the minimum requirements of the Act, with which all schools

must comply, provide adequate context to render this case fit for decision



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under ripeness doctrine. Although Defendants maintain that the district

court did not follow this Court’s ruling in Staley v. Harris County, 485

F.3d 305 (5th Cir. 2007) (en banc), the court undertook a careful

comparison between the display and other facts at issue in Staley and the

displays and other facts at issue here and recognized that they are

distinguishable in significant ways.

     Second, the district court held that Plaintiffs need not await

consummation of their threatened injuries to sue and that future,

“certainly impending” harms are adequate to confer standing.

Defendants take issue with the court’s citation to Ingebretsen v. Jackson

Public School District, 88 F.3d 274, 278 (5th Cir. 1996), in reaching this

conclusion, but Ingebretsen is consistent with a long line of uncontested

caselaw affirming the same point, and, notably, the district court’s ruling

also rested on many of those other cases. This Court’s recent opinion in

Mack lays to rest Defendants’ theory that Plaintiffs may bring an

Establishment Clause challenge only after they have been exposed to the

Act’s displays: “For a plaintiff to sue under the Establishment Clause, his

‘regular activities’ must prompt ‘personal confrontation’ with the

challenged religious exercise. When a plaintiff seeks only prospective



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relief, he must show that future confrontation is substantially likely.” 49

F.4th at 949 (cleaned up) (emphasis added). Here, of course, it is certain

that the child-Plaintiff will be directly confronted with the displays.

     Defendants’ argument that the state Defendants are entitled to

sovereign immunity fares no better. While they insist that the named

state officials have no real enforcement duties pursuant to the Act, the

text of the Act and the state education code belie that position. In

addition, Defendants’ suggestion that the Ex Parte Young exception is

applicable only where state officials’ implementation is ongoing runs

contrary to numerous cases in which courts have denied sovereign

immunity in pre-enforcement actions. Indeed, Ex Parte Young, 209 U.S.

123 (1908), itself involved a pre-enforcement action. The exception is not

available for past conduct, of course, but it has never been interpreted to

prevent plaintiffs from obtaining equitable relief against future

implementation.

     Finally, Defendants’ argument that this Court should eviscerate so-

called “offended-observer” standing and deny jurisdiction on that ground

is a red herring. As an initial matter, Defendants mischaracterize

Plaintiffs’ demonstrated injuries as spiritual offense alone. In fact,



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Plaintiffs have shown that they will suffer a range of cognizable harms,

including the harms associated with religious coercion of students and

government usurpation of parents’ right to direct the religious education

and upbringing of their children. Any change to “offended-observer

standing” would not, therefore, affect standing here. Moreover, the form

of standing to which Defendants object—spiritual offense and stigma

resulting from direct, unwelcome contact with, or exposure to, a

governmental religious display or practice—is doctrinally sound and is

not in need of reconsideration by this Court.

     Defendants’ merits arguments are also weak. Louisiana children

attend public school in compliance with the state’s compulsory-education

laws. As of January 1, Louisiana will subject those children—no matter

their faith or religious belief—to unavoidable displays of a state-

prescribed, Protestant version of the Ten Commandments for nearly

every hour of every school day of their public education. As the district

court held, this statutory scheme is facially unconstitutional and violates

the Plaintiffs’ rights under both the Establishment and Free Exercise

Clauses.




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     Nearly fifty years ago, the Supreme Court struck down, on its face,

a materially indistinguishable Kentucky statute, recognizing that

posting the Ten Commandments in every public-school classroom would

unconstitutionally “induce the schoolchildren to read, meditate upon,

perhaps to venerate and obey, the Commandments.” Stone, 449 U.S. at

42. The same is true here. The text of the Ten Commandments, infused

with religious directives, will “confront[] elementary school students

every day.” See Van Orden v. Perry, 545 U.S. 677, 691 (2005) (plurality

opinion).

     H.B. 71 cannot be reconciled with Stone, which is good law and

binding on lower courts, as Defendants have conceded. Indeed, the Act is

more constitutionally egregious than the statute overturned in Stone

because it mandates that schools use an official, denominationally

preferential version of the Ten Commandments. Trying to walk back

their admission below, Defendants now assert that “Stone is dead” and

that the district court erroneously relied on it. Def.Br.50. But that

position is untenable in light of this Court’s repeated warnings that it is

the Supreme Court’s prerogative to overrule its own precedent and that

this Court must follow binding precedent until and unless that happens.



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Accordingly, in holding that the Act is “facially unconstitutional and

unconstitutional in all applications,” ROA.1780 (cleaned up), the district

court properly determined that Stone is “directly on point” and

dispositive. ROA.1699.

     As a matter of law, that should end the inquiry. But even absent

Stone, H.B. 71 does not pass muster under Establishment or Free

Exercise Clause jurisprudence prohibiting the government from

religiously   coercing     public-school    students     and    from     enacting

denominationally preferential laws. The district court’s opinion faithfully

applies this precedent, and Defendants fail to address in any serious

measure the court’s ruling on these points. As to the former, Defendants

contend only that H.B. 71 does not involve religious exercise. The

Supreme Court has disagreed. As to the latter, they argue that the Act’s

Protestant    version      of   the   Ten      Commandments          cannot     be

denominationally preferential because it is identical to the text of the

monument upheld in Van Orden. However, there is an obvious distinction

between accepting a donated monument with text chosen by a private

party and affirmatively selecting and mandating—across every

classroom in the State—a version of religious scripture that excludes



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Jews and Catholics, not to mention all other Louisiana students and

families who do not consider the Ten Commandments to be part of their

faith traditions.

     Furthermore, the district court correctly found that the historical

record does not support any tradition that would justify such a coercive

and denominationally discriminatory practice. The court’s analysis

involved a careful and thorough factual inquiry that included its “own

review of the evidence[,]” ROA.1777, and allowed both parties the

opportunity to submit written expert evidence as well as live testimony.

Defendants, who chose not to offer any expert evidence, do not argue that

the court’s factual findings on these issues are clearly erroneous. Instead,

they attempt to create a new legal standard for Establishment Clause

claims, based on a single footnote in Kennedy and Justice Gorsuch’s

concurring opinion in Shurtleff v. City of Boston, 596 U.S. 243 (2022)—

neither of which says what Defendants claim. And they argue for an

entirely new rule of litigation, unsupported by caselaw, suggesting that

it is improper for courts to hear expert testimony from a historian in cases

involving historical analysis.




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     Finally, Defendants return repeatedly to their hypothetical

“illustrations” as an envisaged panacea for the Act’s constitutional

infirmities. But many of the illustrations do not comply with the

minimum requirements of the Act (because the text is not the “central

focus” of the display and/or is not “printed in a large, easily readable

font”), as the district court found. ROA.1698-99, 2519-21. And even if they

did, this case is not about the content of any individual display. Whatever

else may be included in any particular display, the minimum

requirements of the Act will impose scripture—the State’s preferred,

denominationally discriminatory version, no less—on every student, and

these displays will confront students throughout every hour of every day

of every year of their educational journeys.

     To that point, as the district court held, the central question here

“is not whether the Biblical laws can ever be put on a poster; the issue is

whether, as a matter of law, there is any constitutional way to display

the Ten Commandments in accordance with the minimum requirements

of the Act.” ROA.1699. There is not, as the district court concluded. The

decision below should be affirmed.




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                               ARGUMENT

I.    The District Court Properly Exercised Its Jurisdiction.

      While they present separate jurisdictional questions, “there is a fair

amount of overlap between Article III standing requirements and the

ripeness analysis.” Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 930

(5th Cir. 2023). Contrary to Defendants’ arguments, neither ripeness nor

standing doctrine requires a plaintiff to “to await the consummation of

threatened injury to obtain preventive relief.” ROA.1652 (quoting

Thomas v. Union Carbide Agr. Prods. Co., 473 U.S. 568, 581 (1985)).

Rather, “[i]f the injury is certainly impending, that is enough.” ROA.1652

(quoting Thomas, 473 U.S. at 581). This Article III principle is as

uncontroversial as it is longstanding.3 Accordingly, the district court

properly held that Plaintiffs need not delay suit until H.B. 71 is

implemented and they actually suffer harm. ROA.1652, 1658.

      Plaintiffs’ claims are ripe because, as the district court recognized,

“the Act itself” provides “sufficient information about what the Ten




3 See, e.g., Pennsylvania v. West Virginia, 262 U.S. 553, 592-93 (1923),

aff’d on reh’g, 263 U.S. 350 (1923) (holding that lawsuits filed “a few days”
after challenged statute took effect were not premature even though “the
statute had not been tested” in actual practice).

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Commandment[s] displays will look like . . . to determine whether the

display   is   constitutional”   without     further    factual    development.

ROA.1623. In addition, given the injuries asserted by Plaintiffs and the

looming implementation of the Act, “Plaintiffs have a personal stake in

the outcome of the litigation sufficient to confer standing.” ROA.1623-24.

     So, too, the district court correctly held that no Defendant is

entitled to sovereign immunity because “Plaintiffs have satisfied the Ex

Parte Young exception as to Brumley and the BESE Members.”

ROA.1625. The state Defendants’ statutory enforcement authority and

obligations are evident from the face of H.B. 71 and Louisiana’s education

code. ROA.1671-76. And Defendants’ contention that sovereign immunity

applies because the state Defendants have yet to carry out those duties

would preclude all pre-enforcement lawsuits against state officials. That

is not the law in this Circuit or anywhere else.

     In an effort to salvage their jurisdictional arguments, Defendants

decry “offended-observer standing,” but Plaintiffs’ claims do not depend

on such standing. Defendants also repeatedly fall back on their

hypothetical “illustrations,” which they believe are permissible under the

First Amendment. Not only are most of these displays largely



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inconsistent with the minimum requirements of H.B. 71, ROA.1679-99,

2519-21, but they are also beside the point. Even if their illustrations

could somehow render the statutory scheme constitutional on the merits

(they cannot), they do nothing to obviate or undermine the impending

injuries that Plaintiffs assert from such displays and do not otherwise

deprive the court of jurisdiction over the constitutional question at issue:

whether the Act’s minimum requirements violate the First Amendment.

     A.    Plaintiffs’ Claims Are Ripe.

     Ripeness is a question of timing, with courts seeking to avoid

“premature adjudication” of “abstract disagreements.” Thomas, 473 U.S.

at 580. The two-prong ripeness analysis examines and balances “the

fitness of the issues for judicial decision” and “the hardship to the parties

of withholding court consideration.” Texas v. United States, 497 F.3d 491,

498 (5th Cir. 2007). Both prongs weigh in Plaintiffs’ favor here.

           1.    This case is fit for judicial decision.

     Plaintiffs’ facial challenge to H.B. 71 is fit for judicial determination

because, “regardless of what iterations of the displays AG Defendants are

able to conjure up for purposes of their briefing, the fundamental

requirements of the Act mandate that the displays occur in a specific

time, place, and manner,” and no public-school governing authority may

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deviate from those minimum requirements. ROA.1645-46. The relevant

inquiry for the Court is thus a “pure question of law,” namely, “whether

the displays, as mandated by the State, violate the Establishment and

Free Exercise Clauses of the First Amendment.” ROA.1649 (quoting

Braidwood, 70 F.4th at 930) (emphasis added); see, e.g., Blanchette v.

Conn. Gen. Ins. Corps., 419 U.S. 102, 141-42 (1974) (holding that takings

claim was ripe where statute required special court to order the

conveyance of rail properties and “granted no discretion not to order the

transfer,” even though “the exact terms of the conveyance remain[ed] to

be decided”).

           2.    Plaintiffs will suffer substantial hardship if review is
                 delayed.

      As this Court has repeatedly held, “[t]he loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.” Book People, Inc. v. Wong, 91 F.4th 318, 341 (5th Cir.

2024) (internal quotation marks omitted). Such harms, which are present

here, constitute serious hardship for ripeness purposes. See Opulent Life

Church v. City of Holly Springs, 697 F.3d 279, 288 (5th Cir. 2012)

(holding that plaintiffs’ facial claims were ripe “because “[e]ach day that




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passes without Opulent Life being able to occupy its new building is a

day in which its religious free exercise is curtailed”).

     Plaintiffs’ uncontroverted testimony details the injuries they will

suffer once H.B. 71 is implemented, supra pp. 8-9, and they need not

await the consummation of this threatened harm to obtain injunctive

relief. A case is ripe where “an injury that has not yet occurred is

sufficiently likely to happen [so as] to justify judicial intervention.”

Pearson v. Holder, 624 F.3d 682, 684 (5th Cir. 2010); see also Gulfport

Energy Corp. v. FERC, 41 F.4th 667, 679 (5th Cir. 2022) (“Ripeness does

not demand that an injury be certain. Instead, the feared injury need only

be sufficiently likely to happen [.]” (cleaned up)).

     Here, there is no question that, once H.B. 71 is implemented, the

children-Plaintiffs will be subjected, in every classroom during every

school day, to displays that accord with the minimum requirements of

the statute. Nor is there any question that, absent judicial intervention,

Defendants will implement the law. ROA.1661, 1767. Plaintiffs’ injuries

are thus sufficiently likely to occur, and their claims are ripe. See Cooper

v. McBeath, 11 F.3d 347, 552 n.7 (5th Cir. 1994) (holding that “promise




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of threatened enforcement [of statute] is . . . sufficient to thwart any

assertion that the dispute lacks ripeness”).

             3.   Staley does not preclude jurisdiction here.

     Defendants’ ripeness argument rests almost entirely on this Court’s

en banc ruling in Staley. See Def.Br.27; ROA.1646. But Staley, which

challenged the constitutionality of a lone Bible monument placed near

the public entrance of a county courthouse, 485 F.3d at 307, 309, involved

a   unique    and unusual     set   of    factual    circumstances that        “is

distinguishable for several reasons.” ROA.1648.

     Four days before the en banc oral argument, the Staley monument

(previously held unconstitutional by a three-judge panel) was removed

from public view and placed in storage to accommodate an extensive

renovation of the property. 485 F.3d at 307. Because the renovation

sought to restore a previously demolished stone staircase where the

monument had stood, the county would be prevented from re-displaying

it in the same location. See Bill Murphy, Bible Monument’s Removal Adds

Twist to Appeal, HOU. CHRON. (Jan. 22, 2007), https://bit.ly/3AVSkdQ. As

a result, the en banc Court deemed the appeal moot and “any dispute

over a probable redisplay” unripe, explaining: “[I]t is not known when,



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where, or under what circumstance the monument and Bible will be

restored on the Courthouse grounds.” 485 F.3d at 307. Indeed, “no

decision ha[d] been made regarding any aspect of the future display of

the monument.” Id. at 309; ROA.1647-48.

     The facts here stand in stark contrast to those in Staley. There, the

county had made no decisions or plans pertaining to the monument’s

future. Id. at 307-09. And there was no legal requirement that the Bible

monument     be   re-displayed   in     accordance     with    any    particular

specifications or at all, for that matter. (To Plaintiffs’ counsel’s

knowledge, the monument has never been re-erected on courthouse

property.) H.B. 71 requires Defendants to post the Ten Commandments

in every classroom by a date certain (January 1, 2025), and the displays

must comply with the statute’s clear and extensive minimum

requirements.

     Staley also did not concern public-school-sponsored religious

observance. The distinction is important. With the monument “[o]ut of

sight in some warehouse” and no specific plan to re-erect it, there was

substantial uncertainty as to whether the plaintiff would ever again

encounter the monument or suffer the same hardship that animated her



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claim in the first place. 485 F.3d at 309. Here, Louisiana law makes the

displays and school attendance mandatory. The statute provides no way

for students to avoid classrooms featuring the displays. Nor could it,

given that the displays will be posted in every single classroom in every

elementary, middle, and high school.

     Examining these facts, the district court properly concluded that

there exists here (unlike in Staley) “sufficient context concerning the

placement of the Ten Commandments so that the Court can evaluate the

Act’s constitutionality at this time.” ROA.1648-49 (“[I]t is ‘known when,

where, [and] under what circumstance’ the Ten Commandments will be

displayed in public schools.”). The district court’s ripeness reasoning is

thus consistent with Staley and with Supreme Court precedent holding

that a challenge to school-sponsored religious observance is properly

adjudicated even if some details remain unknown. See Santa Fe Indep.

School Dist. v. Doe, 530 U.S. 290, 313 (2000) (rejecting argument that

plaintiffs filed a “premature facial challenge” to football-game prayer

policy even though “there [could] be no certainty” that the pregame

invocations “w[ould] be religious”); Lee v. Weisman, 505 U.S. 577, 583

(1992) (affirming jurisdiction, although “[t]he record in this case is



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sparse,” and “[a]ssum[ing] the clergy’s participation in any high school

graduation exercise would be about what it was at [Plaintiff’s] middle

school ceremony”).

      B.    Plaintiffs Have Standing.

      “To establish Article III standing, a plaintiff must show that it has

suffered an ‘injury in fact’ that is ‘fairly traceable’ to the defendant’s

conduct and would likely be ‘redressed by a favorable decision.’” Collins

v. Yellen, 594 U.S. 220, 242 (2021) (quoting Lujan v. Defs. of Wildlife, 504

U.S. 555, 560-61 (1992)). The district court correctly held that Plaintiffs

“have satisfied the three requirements for standing for each claim as to

each defendant.” ROA.1658.

            1.    Plaintiffs’ asserted injuries are certainly impending.

      The interests of “school children and their parents, who are directly

affected by the laws and practices against which their complaints are

directed . . . suffice to give the parties standing to complain.” Sch. Dist. of

Abington Twp. v. Schempp, 374 U.S. 203, 224 n.9 (1963); accord Doe v.

Sch. Bd. of Ouachita Par., 274 F.3d 289, 292 (5th Cir. 2001) (“The case

for standing is made stronger when the plaintiffs are students and

parents of students attending public schools, who enjoy a cluster of rights

vis-a-vis their schools, and thus are not merely ‘concerned bystanders.’”).

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     In insisting that Plaintiffs have no cognizable injury because the

child-Plaintiffs have “never seen an H.B. 71 display,” Def.Br.31,

Defendants misstate basic standing principles: Standing based on future,

threatened injury is permissible where the asserted injury is “certainly

impending.” See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158

(2014); Barber, 860 F.3d at 357 (“Future injuries can provide the basis

for standing but they must be certainly impending to constitute injury in

fact[.]” (internal quotations marks omitted)). As this Court held in Mack,

when plaintiffs seek only prospective relief against state-sponsored

religious activity, they can establish a cognizable injury by “show[ing]

that future confrontation is substantially likely.” 49 F.4th at 949 (cleaned

up). The Supreme Court has held the same in the school context, ruling

that “a live and justiciable controversy is before us” as to prayers at

“future graduations” because the plaintiff was “enrolled as a student at

[the high school] and from the record it appear[ed] likely, if not certain,

that an invocation and benediction will be conducted at her high school

graduation.” Lee, 505 U.S. at 584.

     Here, of course, future confrontation is not just likely; it is an

absolute certainty. ROA.1651-52 (“[T]he risk of a future encounter by the



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Plaintiff children, who are required under the Act to attend classes with

displays of the Ten Commandments and their statutorily [mandated]

‘minimum requirements’ by January 1, 2025, is ‘certainly impending.’”

(quoting Driehaus, 573 U.S. at 158)). As discussed above, to demonstrate

standing, Plaintiffs need not acquiesce to the very injuries they seek to

prevent through equitable relief. Supra p. 22. Ingebretsen is fully

consistent with the many other cases holding just that, including those

relied on by the district court. ROA.1624, 1645-52. None of the cases cited

by Defendants overrule, contradict, or otherwise undermine this

precedent.

     Doe v. Tangipahoa Parish School Board, 494 F.3d 494, 496 (5th Cir.

2007) (en banc), Def.Br.31-32, acknowledged that “[c]onstitutional

standing” may be based on “threatened injury.” Unlike here, however,

the Doe record did not evince past or future harm: There was no evidence

that the plaintiffs had attended previous meetings at which the

challenged prayers were delivered or would attend future meetings

where they would be subjected to such prayers. See id. at 499-500

(DeMoss, J., specially concurring). Barber affirmed Doe, holding that

“[f]uture injuries can provide the basis for standing, but they must be



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certainly impending to constitute injury in fact, and . . . [s]uch allegations

also must be contained in the record.” 860 F.3d at 357 (citing Doe, 494

F.3d at 499) (internal quotation marks omitted). The Barber plaintiffs did

not have standing because there was no state-sponsored religious display

or observance to which they had been or would be exposed. Id. at 354

(distinguishing religious-display cases); ROA.1651. And in Staley, which

addressed mootness and ripeness, supra pp. 27-30, not standing, it was

simply not clear that the plaintiff would ever again encounter the

challenged monument because any potential re-display was shrouded in

uncertainty.

           2.    There is no basis for revisiting so-called “offended-
                 observer standing” here.

     Defendants likewise misstate longstanding precedent governing so-

called “offended-observer standing.” To be clear, spiritual offense

resulting from direct, unwelcome contact with, or exposure to, a

governmental religious display or practice is a sufficient basis for

standing. See, e.g., Murray v. City of Austin, 947 F.2d 147, 151-52 (5th

Cir. 1991). And the record adequately shows that the child-Plaintiffs will

be directly exposed to the Act’s mandatory displays. Supra pp. 7-8. But

Plaintiffs’ claims do not depend on this form of standing because their


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demonstrated injuries go far beyond the right of “observers” to be free

from “offense.”

       Plaintiffs seek to prevent both the coercive injury that state-

sponsored religious observance in public schools inflicts on students and

the harm that such coerced observance causes parents by interfering

with their right to direct the religious education and upbringing of their

children. Supra pp. 8-9. Due to Louisiana’s compulsory education laws

and the pervasive nature of the displays, students are a captive audience,

and there is no way to opt out of this harm. Infra pp. 45-50. Plaintiffs’

claims here are thus a far cry from cases where the government has

permitted or erected a display in a public park, roadside median,

courthouse lawn, or other area in which individuals may come and go—

or possibly not go and avoid the display altogether. See Van Orden, 545

U.S.    at   691   plurality   opinion)    (“The      placement    of   the     Ten

Commandments monument on the Texas State Capitol grounds is a far

more passive use of those texts than was the case in Stone, where the text

confronted elementary school students every day.”).

       The harms that Plaintiffs seek to avert are the very sort of injury

that courts have repeatedly recognized as sufficient to confer standing.



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The Supreme Court has, for example, expressly held that children who

are or will be subjected to allegedly coercive school-sponsored religious

observance have standing to challenge it. See Lee, 505 U.S. at 584

(affirming standing to challenge future graduation invocations based on

student’s enrollment in high school and likelihood that her graduation

would include prayer); see also Schempp, 374 U.S. at 224 n.9. Defendants’

belief that Kennedy somehow eliminated “offended-observer standing,”

Def.Br.35, is thus immaterial here. Kennedy did not call into question the

continuing vitality of Lee or Schempp. And Kennedy did not overrule

Stone, infra pp.43-45, where the plaintiffs stood in the same position vis-

à-vis their facial challenge to a materially identical Kentucky statute as

the Plaintiffs do here. Given the nature of the injuries shown by

Plaintiffs, revisiting “offended-observer standing,” as Defendants

demand, would have no effect on the outcome of this case.

     In any event, Kennedy did not change Establishment Clause

standing law. Defendants’ argument rests on the slimmest of reeds: a

statement regarding the denial of certiorari in City of Ocala v. Rojas, 143

S. Ct. 764 (2023), and a dissent from the denial in the same case.

Defs.Br.35-36. Kennedy, however, did not address Establishment Clause



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standing because the petitioner there, a football coach, did not bring an

Establishment Clause claim. The ruling did not, therefore, preclude

standing based on direct contact and spiritual offense, and there is no

reason for this Court to revisit its precedent on this issue.

     Defendants also point to Justice Gorsuch’s concurring opinion in

American Legion v. American Humanist Association, 588 U.S. 199, 80

(2019), Def.Br.35-37, but American Legion undermines their claim that

the demise of the Lemon test also ended “offended-observer standing.”

There, despite declining to apply Lemon, Am. Legion, 588 U.S. at 48-52,

and notwithstanding Justice Gorsuch’s concurring opinion, the Court

adjudicated the plaintiffs’ claims, which they brought because they were

“offended by the sight of the memorial on public land.” Id. at 37.

     Standing based on spiritual injury arising from direct, unwelcome

contact with a governmental religious display remains doctrinally sound

post-Kennedy because it is rooted not in the mechanics of the now-

abandoned Lemon test but in two of the Establishment Clause’s core

historical purposes: to prevent religious coercion and religious

divisiveness. See, e.g., McCreary Cnty. v. ACLU of Ky., 545 U.S. 844, 876

(2005) (“The Framers and the citizens of their time intended not only to



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protect the integrity of individual conscience in religious matters, but to

guard against the civic divisiveness that follows when the government

weighs in on one side of religious debate.” (cleaned up)).

     Defendants’ invitation to prohibit such standing would open the

flood gates to government-sponsored religious displays and messages.

For example, a county could post signs in its courthouse depicting a cross

and stating that Islam is a false religion and Christianity the one true

faith, or a city could erect an anti-Catholic statue in the town square. Cf.

O’Connor v. Washburn Univ., 416 F.3d 1216, 1223 (10th Cir. 2005)

(“Appellants’ allegations that they were frequently brought into direct

and unwelcome contact with the [allegedly anti-Catholic] statue are

sufficient to give them standing for an Establishment Clause

challenge.”). Whatever the outcome on the merits, under Defendants’

theory, those who encounter these governmental religious displays would

have no standing to sue, effectively insulating the displays from any

challenge.

     C.      Defendants Are Not Entitled to Sovereign Immunity.

     Neither of Defendants’ arguments in support of sovereign

immunity aligns with governing precedent. First, Defendants posit that



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Ex Parte Young, 209 U.S. at 123, is not applicable here because “there is

no ongoing violation[.]” Def.Br.38. Put another way, according to

Defendants, the Ex Parte Young exception is never available in pre-

enforcement challenges. Defendants’ interpretation is obviously wrong

considering that Ex Parte Young was itself a pre-enforcement action. As

the district court explained, “[t]he ongoing violation requirement is

satisfied   when      a   state   officer’s    enforcement     of   an    allegedly

unconstitutional state law is threatened.” ROA.1669 (quoting 17A Daniel

R. Coquillette, Gregory P. Joseph, Georgene M. Vairo, Chilton Davis

Varner, Moore’s Federal Practice - Civil § 123.40 (Matthew Bender 3d ed.

2024); see also ROA.1670 (“[The] ongoing and continuous requirement

merely distinguishes between cases where the relief sought is prospective

in nature . . . and cases where relief is retrospective.” (quoting Summit

Med. Assocs., P.C. v. Pryor, 180 F.3d 1326, 1338 (11th Cir. 1999)).

     Second, Defendants argue that BESE and Brumley “do not have the

requisite enforcement authority.” Def.Br.39. But to invoke the Ex Parte

Young exception, “[a]ll that is required is a mere scintilla of enforcement

by the relevant state official with respect to the challenged law.” Jackson

v. Wright, 82 F.4th 362, 367 (5th Cir. 2023). That low bar is easily met



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here because H.B. 71 expressly states that BESE “shall adopt rules and

regulations . . . to ensure the proper implementation of this Section.”

ROA.2097. “Without question, that specific statutory directive goes

beyond ‘the general duty to see that the laws of the state are

implemented’ by requiring the BESE Members to ‘enforce the particular

statutory provision that is the subject of the litigation.’” ROA.1671

(quoting Book People, 91 F.4th at 335).

     This exercise of statutory duties plainly involves the “compulsion or

constraint” that Defendants complain is lacking. Def.Br.39-40. BESE is

not merely permitted to issue regulations implementing the Act; it shall

do so. And those regulations will not comply with the statute unless they

ensure (i.e. compel) its proper implementation. This will necessarily result

in the compulsion or constraint of the child-Plaintiffs, who will be forced

to attend school and submit to unwanted and unconstitutionally coercive

religious displays, and the parent-Plaintiffs, who will be forced to

acquiesce to schools’ usurpation of their right to direct their children’s

religious education. “The fact that H.B. 71 will be enforced through the

School Board Defendants does not gainsay the role of the Superintendent




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and BESE Members in implementing and enforcing the Act.” ROA.1674

(citing Book People, 91 F.4th at 334-36).

     With respect to Defendant Brumley, Plaintiffs have “identified a

specific duty of the Superintendent to enforce the Act”: State law

specifically charges the Superintendent with doing BESE’s bidding by

“[i]mplement[ing] the policies and programs of the board and the laws

affecting schools under the jurisdiction of the board.” ROA.1661 (quoting

La. R.S. § 17:22(3)).

     Whole Women’s Health v. Jackson, 595 U.S. 30, 44 (2021),

Defs.Br.39, does not advance Defendants’ argument. Plaintiffs here “do

not seek to enjoin the AG or the ‘world at large;’ they are trying to enjoin

specific state officials charged with adopting and implementing rules for

the enforcement of an unconstitutional law.” ROA.1676 (emphasis

added). And Plaintiffs here do not rely on a “series of hypotheticals” as to

enforcement. ROA.1675-76 (quoting Whole Women’s Health, 595 U.S. at

44). Defendants have repeatedly affirmed that they will carry out their

statutorily prescribed duties, and the district court has “identified the

specific powers of the BESE Members and Superintendent which can be




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curbed through injunctive relief.” ROA.1676. The court thus properly

denied the state Defendants’ sovereign-immunity claim.

II.   H.B. 71 Is Facially Unconstitutional.

      Defendants argue that the district court did not consider whether

every hypothetical display under H.B. 71 could satisfy the First

Amendment. Def.Br.3 (citing NetChoice, L.L.C. v. Paxton, 121 F.4th 494

(5th Cir. 2024)). On the contrary, the court did just that, holding that

Plaintiffs must show that the Act is “unconstitutional in every

application.” ROA.1625. (“Plaintiffs must show that ‘there is no set of

circumstances under which’ the display of the Ten Commandments is

constitutional under the Act.” (quoting Croft v. Perry, 624 F.3d 157, 164

(5th Cir. 2010)).

      First, regarding Defendants’ “illustrations,” the district court found

that many of them “ignore[d]” the Act’s minimum requirements.

ROA.1698-99, 2519-21. Second, as to any other hypothetical display

Defendants might dream up, the court correctly observed that—no

matter the non-religious content and no matter “how outlandish” those

displays might be—each one must nonetheless comply with the minimum

requirements of the Act. ROA.1698. Finally, the court reviewed the



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statute’s mandatory provisions and concluded that, “as a matter of law,

there is [not] any constitutional way to display the Ten Commandments

in accordance with the minimum requirements of the Act.” ROA.1699. In

other words, the court considered every hypothetical application of the

Act that would be permissible under the statute (those that comply with

its minimum requirements) and found that none could be constitutional.

Nothing more is required.

     A.    H.B. 71 Violates the Establishment Clause.

           1.    H.B. 71 is unconstitutional under Stone.

     Stone is “directly on point and controlling” here because “its facts

and reasoning are on all fours.” ROA.1707, 1714. The district court

identified a number of material similarities between the Kentucky law

struck down in Stone and H.B. 71, ROA.1707-08, and Defendants have

not pointed to any meaningful distinction between the two statutes.

     Defendants       contrast   H.B.     71’s   “three-paragraph       context

statement,” which purportedly “articulates the Legislature’s secular

historical and educational purposes for displaying the Commandments,”

with the Kentucky statute’s one-sentence “notation untethered to the

educational context.” Def.Br.52. But this difference is immaterial. Both

statements purport to set forth secular, (inaccurate) historical

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justifications for displaying the Ten Commandments, and neither alters

the coercive features of the statute. Indeed, as Defendants “illustrations”

highlight, H.B. 71’s context statement serves no edifying purpose: Unlike

the commandments, it is not required to be the “central focus” or “printed

in a large, easily readable font.” As a result, the statement is ludicrously

tiny and illegible in nearly all of Defendants’ “illustrations.” ROA.1680-

99, 1804.

     Defendants also argue that the Kentucky statute authorized only

isolated displays of the Ten Commandments. Def.Br.51. Not so. Nothing

in the Kentucky law implicitly or explicitly required that the

commandments be displayed standing alone. See Stone, 449 U.S. at 39

n.1. Nevertheless, the Supreme Court held that it was facially

unconstitutional. Id. at 42-43.

     Unable to adequately distinguish H.B. 71 from the statute struck

down in Stone, Defendants argue—despite conceding otherwise below—

that Stone is no longer good law because the opinion supposedly relies on

the abandoned “Lemon test.” Def.Br.50-52. The Supreme Court, however,

has characterized the caselaw at the heart of Stone quite differently,

explaining in Van Orden that Stone “almost exclusive[ly] reli[ed] upon



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two of our school prayer cases.” 545 U.S. at 690-91 (plurality opinion)

(citing Schempp, 374 U.S. at 203, and Engel v. Vitale, 370 U.S. 421, 421

(1963)).

        Kennedy did not call into question the continuing vitality of

Schempp or Engel, and even if it had, those cases—like Stone—would

continue to be binding on lower courts until and unless the Supreme

Court “see[s] fit to reconsider them.” ROA.1706 (quoting Bosse v.

Oklahoma, 580 U.S. 1 (2016)); accord Nat’l Coal. for Men v. Selective Serv.

Sys.,      969    F.3d    546,    549-50      (5th     Cir.    2020)     (“[O]nly

the Supreme Court may overrule its precedents even where subsequent

decisions or factual developments may appear to have significantly

undermined the rationale for [the] earlier holding[.]” (cleaned up)).

        Kennedy does not, of course, mention Stone, let alone overrule it.4

Stone is thus binding, directly applicable, and dispositive. See Jusino v.

Fed’n of Catholic Teachers, Inc., 54 F.4th 95, 102 (2d Cir. 2022), cert.

denied, 143 S. Ct. 1056 (2023) (holding that NLRB v. Catholic Bishop of




  4  Defendants misleadingly suggest that Kennedy overturned Stone
through its vague references to Lemon’s “progeny” and “offshoot[s].”
Def.Br.50. The Court was referring to Lemon’s “endorsement test
offshoot,” however, not Stone. Kennedy, 597 U.S at 534.

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Chicago, 440 U.S. 490 (1979), “remains good law notwithstanding its

reliance . . . on Lemon . . . unless and until the Supreme Court sees fit to

overrule [it] directly”).

             2.    H.B. 71 is unconstitutionally coercive.

       Defendants’ opening brief relies heavily on the fact that there are

depictions of Moses and the Ten Commandments in the U.S. Supreme

Court and certain other government buildings,5 but this argument proves

too much: None of these displays involves public schools, where students

(especially those in classrooms) are a quintessentially captive audience.6

       Public-school students are at unusual risk of religious coercion

because “[t]he State exerts great authority and coercive power through

mandatory attendance requirements, and because of the students’

emulation of teachers as role models and the children’s susceptibility to


   5 Defendants fail to mention that none of the allusions to the Ten
Commandments in the Supreme Court actually set forth the full
scripture. Rather, “[t]o the extent the text of the Ten Commandments
appears at all in these representations, it appears in only one, is written
in Hebrew, and is only partial—most notably, only the text of
Commandments VI through IX (the most clearly secular) appears.”
ACLU of Ohio Found., Inc. v. Ashbrook, 211 F. Supp. 2d 873, 884 n.9
(N.D. Ohio 2002), aff’d, 375 F.3d 484 (6th Cir. 2004) .
   6 For the same reason, Briggs v. Mississippi, 331 F.3d 499 (5th Cir.

2003), Def.Br.58, is inapposite.



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peer pressure.” Edwards, 482 U.S. at 584; see also Lee, 505 U.S. at 592.

This Court has exercised the same solicitude for public-school students

who are captive to school-sponsored religious messages. See Ingebretsen,

88 F.3d at 279-80 (striking down state law that would authorize prayers

at public-school events where “attendance is compulsory” because

“students will be a captive audience that cannot leave without being

punished by the state or School Board for truancy or excessive absences”).

     It is for this reason that the Supreme Court has recognized “limits

to the display of religious messages or symbols” in public schools,

including the display of the Ten Commandments. Van Orden, 545 U.S.

at 690-91 (plurality opinion). As the plurality in Van Orden explained,

Stone “stands as an example of the fact that we have been particularly

vigilant in monitoring compliance with the Establishment Clause in

elementary and secondary schools.” Id.; see also ROA.1762-63

(distinguishing displays in the school context, “where, given the

impressionability of the young, government must exercise particular care

in separating church and state” (quoting Van Orden, 545 U.S. at 703

(Breyer, J., concurring)).




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     Accordingly, while this Court’s Establishment Clause analysis may

properly begin and end with Stone, H.B. 71 is also plainly

unconstitutional under the Supreme Court’s coercion jurisprudence.

However else courts may interpret Kennedy, there can be no dispute that

Kennedy affirmed that public schools may not religiously coerce students.

See 597 U.S. at 537 (noting that coercion “was among the foremost

hallmarks of religious establishments the framers sought to prohibit

when they adopted the First Amendment”); accord Lee, 505 U.S. at 587

(“It is beyond dispute that, at a minimum, the Constitution guarantees

that government may not coerce anyone to support or participate in

religion or its exercise[.]”). Pointing to Lee and Santa Fe, Kennedy

reiterated that the religious observances challenged in those cases were

“problematically coercive”—unlike Coach Kennedy’s private-capacity

prayers—because they were officially sponsored by the school and

delivered to a “captive audience” at school events that students were

either required or expected to attend. 597 U.S. at 542. Lee and Santa Fe,

therefore, remain controlling with respect to religious coercion claims

asserted by public-school students, and the district court correctly held

that the Act is unconstitutionally coercive.



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     Defendants do not dispute the district court’s conclusion,

ROA.1751, that the child-Plaintiffs will be a captive audience to H.B. 71’s

displays. Def.Br.58-59 (“[I]t is indisputable that students are required to

go to school[.]”). They maintain instead that the displays are “passive”

and that no religious exercise is at issue. The Supreme Court has already

rejected that argument. In Schempp, the Court recognized that daily

scriptural readings constituted “religious exercise,” 374 U.S. at 224-25;

and in Stone, the Court held that it is not “significant that the Bible

verses involved in this case are merely posted on the wall, rather than

read aloud as in Schempp and Engel.” 449 U.S. at 42. School-sponsored

religious observance (here, daily reading and meditation on scripture) is

no less unconstitutional merely because it is silent. cf. Van Orden 545

U.S. at 691 (plurality opinion) (distinguishing Stone displays, where the

religious texts “confronted elementary school students every day,” from

the “far more passive use of those texts” in the Texas Capitol grounds

monument), quoted in Staley, 485 F.3d at 308.

     Nor are H.B. 71’s pervasive and permanent displays any less

unconstitutional because students purportedly are not required to engage

in the state-sponsored religious observance. Def.Br.59 (stating that the



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child-Plaintiffs are not “required to do anything with the Ten

Commandments”). In suggesting otherwise, Defendants neglect the

inherently coercive nature of the school environment. As discussed above,

the Supreme Court has repeatedly recognized that children are especially

predisposed to religious indoctrination at school, both because they are

captive audiences to the State’s religious messages and because they are

vulnerable to the immediate impressions and judgments of their teachers

and classmates if they do not fall in line with the State’s preferred

religious beliefs. See Lee, 505 U.S. at 593.

     That is the case here. Under H.B. 71, students will be subjected to

displays of the Ten Commandments for nearly every hour they are in

school, for their entire public education. The displays will unavoidable.

No matter the content of any individual display, all of them will have one

common denominator, from classroom to classroom and school to school:

the State’s prescribed, Protestant version of the Ten Commandments.

The State has further ensured that students’ attention will be drawn to

the commandments by mandating a minimum display size and that the

commandments be the “central focus” and be “printed in a large, easily

readable font.” Students cannot help but be acutely aware of the lengths



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to which the State has gone to ensure that they encounter these displays,

and they will reasonably feel pressured to “read, meditate upon, perhaps

to venerate and obey, the Commandments.” See Stone, 449 U.S at 42; see

also City of Elkhart v. Books, 532 U.S. 1058, 1061 (2001) (Rehnquist, C.J.,

dissenting from denial of certiorari) (“In Stone, the posting effectively

induced schoolchildren to meditate upon the Commandments during the

school day.”).

     “This pressure, though [it may be] subtle and indirect, can be as

real as any overt pressure.” Lee, 505 U.S. at 593; see also Doe ex rel. Doe

v. Elmbrook Sch. Dist., 687 F.3d 840, 851 (7th Cir. 2012) (en banc)

(“[R]eligious displays in the classroom tend to promote religious beliefs,

and students might feel pressure to adopt them. Such concern was front

and center in Stone[.]”). Lawmakers have effectively conceded that the

design and implementation of H.B. 71 will produce this coercive end,

characterizing the displays, for example, as “visual aid[s]” that will teach

children to follow “what God says is right and what He says is wrong.”

See supra p. 5.




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           3.    H.B. 71 discriminates based on religious denomination.

     As Mack recognized, coercion is not the only way in which

government conduct can infringe the Establishment Clause: The

challenged activity may not violate the principle of “denominational

nondiscrimination.” ROA.1742 (quoting Mack, 49 F.4th at 961).

Denominational discrimination runs afoul of “[t]he clearest command of

the Establishment Clause” that “one religious denomination cannot be

officially preferred over another.” Larson v. Valente, 456 U.S. 228, 244

(1982). That command is deeply rooted in our nation’s history—a direct

result of the founders’ desire to avoid both the coercive ends of such

preference and the religious and civic divisiveness it engenders. See id.

(discussing colonial history); see also McCreary, 545 U.S. at 887. Nothing

in Kennedy abrogated this core principle. See Carson v. Makin, 596 U.S.

767, 787 (2022) (noting concern for “denominational favoritism” and

citing Larson, 456 U.S. at 244, one week before Kennedy ruling).

     Defendants do not dispute that the Act adopts and mandates one

particular version of the Ten Commandments or that this version is

Protestant. ROA.1778 n.22 (“[Dr.] Green provided extensive testimony

about the ways in which the Ten Commandments as adopted by H.B. 71



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are Protestant and religiously exclusive.”). They have conceded that it

does not comport with the beliefs of many Jewish and Catholic

adherents.7 Supra p. 7. While some might view these differences as

“trivial or semantic, . . . lurking behind the disparate accounts are deep

theological disputes.” Glassroth v. Moore, 335 F.3d 1282, 1299 n.3 (11th

Cir. 2003) (citations omitted).

      Defendants’ only justification for the state’s discriminatory decision

to mandate the display of a denominationally preferential version of

scripture is that, in a very different context, “this Court and the Supreme

Court upheld a Ten Commandments display featuring a ‘version’ of the

Commandments that is identical to that used here.” Def.Br.57. But Van

Orden did not give states carte blanche to adopt the same text in official

form. There, the government did not mandate the creation of the display

or select and approve its denominationally discriminatory text. Here, the

State went out of its way to select, vote on, and officially approve a

specific, Protestant text and then mandate the posting of that scripture



7 It is thus irrelevant that the Fraternal Order of Eagles purportedly

developed the text of the Van Orden monument after consulting with
members of several faiths. Def.Br.57 n.7. The evidence here shows that
the text is denominational.


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in tens of thousands of public-school classrooms. Even Justice Scalia

recognized         that      “[t]he     Establishment          Clause        would

prohibit . . . governmental endorsement of a particular version of the

Decalogue as authoritative.” McCreary Cnty., 545 U.S at 894 n.4 (Scalia,

J., dissenting).

             4.     H.B. 71 does not fit within any historical tradition.

      Even if the historical record could redeem a statute that violates

the Establishment Clause’s fundamental prohibitions on religious

coercion and denominational preference, it does not do so here. After

receiving extensive expert evidence and live testimony,8 and conducting

its “own review of the evidence,” ROA.1777, the district court found that,

as a factual matter, there is “insufficient evidence” of a “broader

tradition” of “the use of the Ten Commandments in public education.”



   8 To the extent that amici supporting Defendants attempt to introduce

purported historical evidence not before the district court, it is improper
here. See 4 West Publ’g Co., American Jurisprudence § 8 (2d ed. 2024)
(“[A]n amicus curiae will not be permitted to present additional evidence
on appeal which was not before the trial court.”). Unlike the expert
evidence presented by Plaintiffs, such evidence is unsworn and not
subject to cross-examination. Defendants had the opportunity to present
expert testimony in rebuttal to Dr. Green and declined to do so. They may
not now circumvent basic rules of litigation through amici.



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ROA.1770. The court credited as “persuasive and well supported” Dr.

Green’s conclusion that “there was no longstanding, widespread use of

the Ten Commandments in public education,” ROA.1770-71, recounting

the wealth of evidence on which he relied, including the historical rancor

and swift opposition to efforts to use the Bible generally in early public

schools, contemporaneous surveys by federal officials as to religious

matters in public schools, popular contemporaneous treatises, and a

review of any potentially relevant state laws spanning the early public-

education system. ROA.1772.

     Defendants, for their part, merely pointed to a handful of early texts

mentioned in H.B. 71—only some of which included the Ten

Commandments and were used in early public schools. ROA.1773.9 But,

as the district court determined, Dr. Green “systematically dismantled

this purported historical evidence” and H.B. 71’s false claim that the Ten


  9 One of Defendants’ examples, the New England Primer, was “used

chiefly, if not exclusively, in religiously run schools, and, importantly, it
fell into disuse during the early decades of the nineteenth century, before
the rise of public education.” ROA.1769-78 (quoting ROA.868). Further,
sporadic references to the Ten Commandments, to the extent they were
included in some editions of the other texts identified by Defendants,
“were largely eliminated from the Readers in later versions, and reliance
on [the Readers] tapered in the early twentieth century as public schools
looked at other available options.” ROA.1719 (quoting ROA.871).

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Commandments were a “prominent part of American public education for

almost three centuries.” ROA.1774-76.10

       In short, because “the historical records show only ‘scattered

instances’ that are ‘too little evidence too thinly spread to conclude that

[the practice] occurred regularly[,]’” the district court correctly rejected

the “categories” of historical evidence offered by Defendants. ROA.1777-

78 (“[T]he limited examples offered by AG Defendants do not show a

‘widespread practice’ of using the Ten Commandments in public schools

that was ‘common for [the] Founding-era’ or at the time of incorporation.”

(quoting and contrasting Mack, 49 F.4th at 957)). And, it follows that,

because the evidence demonstrated that there was no “broader tradition”

of “using the Decalogue in public-school education,” the court correctly



  10  The district court incorrectly held that Plaintiffs bear the
evidentiary burden under the historical analysis. ROA.1743. In New York
State Rifle & Pistol Association, Inc. v. Bruen, 597 U.S. 1, 24-25 (2022),
the Supreme Court stated that the government bears the burden of
producing “historical evidence about the reach of the First Amendment’s
protections” and extended that rule to Second Amendment claims. The
Court explained that this “focus on history also comports with how we
assess many other constitutional claims[,]” including those brought
under the Establishment Clause. Id. at 25 (citing Am. Legion, 588 U.S.
at 60). Even if the district court were correct as to the burden of proof,
Plaintiffs have met it here, as the court found. ROA.1770-78.



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concluded that the specific “practice at issue (permanently displaying the

Ten Commandments in public-school classrooms) does not ‘fit[ ] within’

and is not ‘consistent with historical practice.’” ROA.1778 (quoting and

contrasting Mack, 49 F.4th at 951); see also ROA.1770 (finding that the

evidence does not “reflect any sort of tradition of permanently displaying

the Decalogue in public-school classrooms at the time of the Founding or

of incorporation”).11

     As below, Defendants fail “to seriously challenge any of [Dr.]

Green’s substantive opinions on the merits.” See ROA.1770. Instead, they

attempt to relitigate the district court’s admission of his testimony. They

have not cleared the high bar required to do so: “District courts enjoy



  11 Mack’s observation that Town of Greece v. Galloway, 572 U.S. 565

(2014), discussed only three relevant prayers before concluding there was
adequate historical evidence does not set a universal standard. See
Def.Br.56. Town of Greece dealt with legislative prayer, and the specific
historical question considered by the Court there—as in its predecessor,
Marsh v. Chambers, 463 U.S. 783 (1983)—was whether the practice was
authorized by the First Congress. 572 U.S. at 578-79. The identified
prayers were adequate evidence only because of the “unique” and limited
inquiry at issue. See Marsh, 463 U.S. at 490-91. Scattered references to
the Ten Commandments in school texts, some of which were not even
used in early public schools, and the overwhelming majority of which
were used prior to incorporation of the Establishment Clause to the
states, supra n.9, do not demonstrate a satisfactory historical tradition
here. Cf. Mack, 49 F.4th at 956-57.


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wide latitude in determining the admissibility of expert testimony, and

the discretion of the trial judge and his or her decision will not be

disturbed on appeal unless ‘manifestly erroneous.” Watkins v. Telsmith,

Inc., 121 F.3d 984, 988 (5th Cir. 1997).

      The district court was not persuaded by Defendants’ Daubert

challenge. After rejecting their charge of bias, the court “found Green to

be highly qualified and concluded that he utilized an adequate and

standard methodology used by historians.” ROA.1770; see also ROA.1610

(“During oral argument, [Defendants’] counsel . . . conceded that Green

utilized the same methodology used by all historians and also

acknowledged that Fifth Circuit precedent does not require the same

criteria for measuring reliability of expert testimony in the ‘soft sciences’

as in the ‘hard sciences.’”).12




   12 Defendants repeat their claim, made below, that Dr. Green’s expert

testimony is somehow unreliable because he has purportedly been “on
losing side of every case . . . in which he filed an amicus brief over the past
20 years.” Def.Br.62. Putting aside that the McCreary Court ruled in favor
of the respondents, whom Dr. Green’s amicus brief supported, these
decisions say nothing about the reliability of Dr. Green’s historical
opinions. A variety of factors may affect the consideration and weight
accorded to amicus briefs by the Supreme Court, and the Court’s ultimate
rulings do not pass judgment on the quality of the arguments or research
presented within those amicus briefs.

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     As to their claim that Dr. Green’s testimony is not relevant,

Defendants argue that the testimony does not speak to one of the “six

hallmarks of establishment” identified by Justice Gorsuch in his

concurring opinion in Shurtleff and purportedly adopted by Kennedy (via

footnote) as the new, binding historical test under the Establishment

Clause. Def.Br.42-43. The district court correctly rebuffed this proposed

standard. ROA.1744 (“Kennedy did not limit Establishment Clause

claims to Justice Gorsuch’s six hallmarks found in his Shurtleff

concurrence.”). “In Kennedy, Justice Gorsuch used language indicating

that his . . . hallmarks were not an exhaustive list adopted by the Court.”

ROA.1744 & n.15. The same is true of his Shurtleff concurring opinion,

which does not purport to set forth the entire universe of permitted or

prohibited practices. Rather the opinion identifies “some helpful

hallmarks [of establishment] that localities and lower courts can rely on.”

Shurtleff, 596 U.S. at 285 (Gorsuch, J., concurring in the judgment)

(emphasis added); see ROA.1732. Defendants conceded this at oral

argument.    ROA.1744     (“Defendants     acknowledged . . . that     Justice

Gorsuch’s six hallmarks are not an exhaustive set of criteria for

determining the viability of an Establishment Clause claim.”).



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     Kennedy instructs courts to look to “historical practices and

understandings” and advises that the analysis must draw a line “between

the permissible and the impermissible” that accords “with history and

faithfully reflect[s] the understanding of the Founding Fathers.” 597 U.S.

at 535-36 (cleaned up). Dr. Green’s testimony speaks directly to the

founders’ understanding of the interplay between religion and

government and the relevant historical practices (or lack thereof)

pertaining to the use of the Ten Commandments in public education—

issues raised by the face of the statute itself. For example, to justify the

display of the commandments in public schools, the statute includes a

quotation supposedly from James Madson extolling the “moral principles

of the Ten Commandments.” ROA.2094. Based on his extensive review of

all available writings and speeches by Madison, Dr. Green testified that

this quote is fabricated. ROA.2357-59; see also ROA.1747 n.17 (noting

that Green’s testimony “was uncontradicted and . . . unchallenged” by

Defendants). It is difficult to see how expert testimony here could be more

relevant.13


  13 Defendants’ also repeat their claim, made below, that Dr. Green

improperly characterized the historical evidence. Def.Br.61 (citing City of


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     Defendants       nevertheless   warn    that    “federal    courts       must

particularly assure themselves of the history intertwined with the law

rather than outsourcing that job to experts.” Def.Br.60. But federal

judges are not historians, and there is nothing impermissible or even

inadvisable about admitting expert testimony regarding history where a

historical inquiry is part of the analysis. On the contrary, as Defendants

have acknowledged, courts have routinely done so. ROA.1611. And as the

district court noted in denying Defendants’ Daubert motion, “Defendants

have pointed the Court to no rule or case which prevents a Court from

hearing and utilizing expert testimony on this subject and have made no

effort to refute or distinguish Plaintiffs’ cases allowing such expert

testimony.” ROA.1611.

     B.    H.B. 71 Violates the Free Exercise Clause.

     Given that the Establishment and Free Exercise Clauses have

complementary purposes, Kennedy, 597 U.S.at 533, it is not surprising



Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548 (11th Cir. 1998)).
Harcros does not apply here. There, the proffered testimony was “outside”
the expert’s “competence as a statistician” and offered legal conclusions
regarding collusion and the “existence of a conspiracy.” Id. at 565. Dr.
Green’s testimony is well within his expertise and does not opine on
ultimate legal conclusions. ROA.1612-14.


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that H.B. 71, through its coercive effect on the child-Plaintiffs and its

discriminatory denominational preference, also violates the Free

Exercise Clause.

      The district court correctly concluded that “the mandatory display

of the Ten Commandments in H.B. 71 conflicts with and burdens the

sincere beliefs of the Unitarian Universalist, Presbyterian, agnostic or

atheist, and Reform Jewish Plaintiffs.” ROA.1760. Not only did the court

find a burden on the children’s free exercise, but also on the parents’

“‘fundamental interest . . . to guide the religious future and education’

and ‘to direct the religious upbringing of their children.’” ROA.1760

(quoting Wisconsin v. Yoder, 406 U.S. 205, 232 (1972)). Defendants may

disagree, Def.Br.64, but they make no argument as to why the court’s

findings of fact as to Plaintiffs’ sincerely held religious beliefs are clearly

erroneous. See Harrison v. Young, 48 F.4th 331, 339 (5th Cir. 2022)

(“[T]he appellate court reviews a district court’s grant of a preliminary

injunction for an abuse of discretion, reviews factual findings for clear

error, and reviews legal conclusions de novo.”).14


   14 Murray, 947 F.2d at 152, and New Doe Child #1 v. United States,

901 F.3d 1015, 1019, 1026 (8th Cir. 2018), Def.Br.64-65, did not involve


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     The right to free exercise necessarily includes the right not to be

pressured into government-sponsored religious observance that violates

one’s conscience,15 as well as the right not to be coerced by the

government to suppress one’s own religious beliefs and practices. See

Carson, 596 U.S. at 778 (reiterating that the Free Exercise Clause bars

“indirect coercion or penalties on the free exercise of religion, not just

outright prohibitions” (cleaned up)); Schempp, 374 U.S. at 222 (holding

that the Free Exercise Clause guarantees the “right of every person to

freely choose his own course [in matters of faith] . . . free of any

compulsion from the state”). Beyond repeating their mischaracterization

of H.B. 71 as involving only “passive religious imagery,” Def.Br.64,

Defendants have no answer for the fact that the Act “effectively



the school context, where coercive forces—both direct and indirect—are
heightened. Supra pp. 45-50. Cases involving free-exercise challenges to
evolution lessons or to coursework relating to world affairs, Def.Br.at 65,
meanwhile, contest secular instruction, not the unyielding inculcation of
(the State’s approved version of) religious scripture. The latter directly
implicates the Free Exercise Clause’s core principles.
   15 The Free Exercise Clause protects non-believers in this regard just

as surely as it protects people of faith. See, e.g., Janny v. Gamez, 8 F.4th
883, 912 (10th Cir. 2021) (atheist on parole asserted a valid free-exercise
claim after his parole was revoked because he refused to take part in
religious activities).



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induce[s] . . . schoolchildren to meditate upon the Commandments

during the school-day.” See City of Elkhart, 532 U.S. a 1061 (2001)

(Rehnquist, C.J., dissenting from denial of certiorari) (describing Stone).

     Furthermore, because Plaintiffs have shown that the Act will

“burden[] [their] sincere religious practice pursuant to a policy that is not

‘neutral’ or ‘generally applicable,’” the Act must overcome strict scrutiny.

ROA.1759 (quoting Kennedy, 597 U.S. at 525). Defendants do not even

attempt to argue that it does.16 Nor could they. As the district court held,

“[e]ven assuming that H.B. 71 advanced a compelling interest (e.g., for

educational or historical value), the Act is unquestionably not narrowly




     16 Defendants suggest that the Act is religiously neutral because it

uses the same text as the Van Orden monument. Def.Br.67-68. As
discussed above, the government’s role in Van Orden was markedly
different than the State’s role here, where lawmakers selected the
denominationally preferential text for the displays and wrote its
mandatory use into state law. Supra pp. 52-53. They were also clear
about their intent, which the district court properly considered. See
Masterpiece Cakeshop v. Colo. Civ. Rts. Comm’n, 584 U.S. 617, 639 (2018)
(“Factors relevant to the assessment of governmental neutrality include
the historical background of the decision under challenge, the specific
series of events leading to the enactment or official policy in question,
and the legislative or administrative history, including contemporaneous
statements made by members of the decisionmaking body.” (internal
quotation marks omitted)).



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tailored in pursuit of those interests” because “[t]here are any number of

ways that the State could advance an alleged interest in educating

students about the Ten Commandments that would be less burdensome

on the First Amendment than the one required by the Act.” ROA.1764

(internal citation and quotation marks omitted).

III. The District Court Properly Granted a Preliminary
     Injunction.

     The district court properly exercised its discretion in issuing a

preliminary injunction. See Harrison, 48 F.4th at 339 (appellate courts

review injunctions for “abuse of discretion”). First, in light of its ruling

that the Act facially violates the Establishment and Free Exercise

Clauses, the court correctly concluded that Plaintiffs are likely to succeed

on their claims. ROA.1779-80.

     Second, Defendants complain that the district court’s finding on

irreparable harm “hinged on [Plaintiffs’] success on the merits,”

Def.Br.69, but the court did nothing more than straightforwardly apply

longstanding Supreme Court and Fifth Circuit precedent affirming that

the “loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Book People, 91 F.4th at

341 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); see also Opulent


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Life Church, 697 F.3d at 295 (“Opulent Life has satisfied the irreparable-

harm requirement because it has alleged violations of its First

Amendment . . . rights.”). As this Court has explained, when “an alleged

deprivation of a constitutional right is involved, most courts hold that no

further showing of irreparable injury is necessary.” ROA.1779 (quoting

Book People, 91 F.4th at 341). Yet, even without this precedent, Plaintiffs

have amply demonstrated irreparable harm through the uncontroverted

record evidence, supra pp. 8-9, which identifies the imminent injuries

caused by the Act’s alleged religious coercion and interference with

parental rights. See Lakedreams v. Taylor, 932 F.2d 1103, 1107 (5th Cir.

1991)     (party   seeking   preliminary    injunction    must     establish   a

“substantial threat that failure to grant the injunction will result in

irreparable injury”)

        Finally, the District Court accurately weighed the balance of

equities and considered the public interest. ROA.1779. Though

Defendants are unable to enforce H.B. 71 due to the injunction, “neither

[the State] nor the public has any interest in enforcing a regulation that

violates federal law.” Book People, 91 F.4th at 341 (citations omitted).

Consequently, ‘“[i]njunctions protecting First Amendment freedoms are



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always in the public interest.’” Id. (quoting Opulent Life Church, 697 F.3d

at 298 (emphasis added)); see also Ingebretsen, 88 F.3d at 280. Any harm

to the State here is further diminished by the fact that the preliminary

injunction merely maintains the status quo pending a final ruling.

IV.   The District Court’s Notice Provision Is Lawful.

      Defendants wrongly assert that “Plaintiffs sued for an injunction

against only five Louisiana school boards[.]” Def.Br.85. On the contrary,

Plaintiffs additionally sued the state Defendants to restrain them from

aiding in the unconstitutional implementation of the Act.

      Under Louisiana’s education code, the state Defendants have

statewide duties to “supervise and control” public schools. La. Const. art.

VIII, § 3(A); La. R.S. § 17:6(A)(10). In addition, H.B. 71 requires BESE to

“adopt rules and regulations . . . to ensure the proper implementation of”

the law, and Superintendent Brumley must carry out and enforce those

rules and regulations. Supra pp. 38-41. Having enjoined the state

Defendants from doing so, the Notice Provision is “properly viewed as

ancillary to the prospective relief already ordered” by the district court.

Quern v. Jordan, 440 U.S. 332, 349 (1979). Moreover, the court went out

of its way to ensure that the burden “to accomplish this task is minimal,”



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holding that the state Defendants must “provide notice” in some form but

need not “serve each school with a copy” of the ruling. ROA.1780. The

Notice Provision is thus well within the district court’s authority and

should be affirmed.

                            CONCLUSION

     For the foregoing reasons, the Court should affirm the decision

below.

                                         Respectfully submitted,

Dated: December 30, 2024                 /s/ Jonathan K. Youngwood

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     On December 30, 2024, this document was served via CM/ECF on

all registered counsel and transmitted to the Clerk of the Court.

                                   /s/ Jonathan K. Youngwood
                                   Jonathan K. Youngwood




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